          Case 4:17-cr-00111-JM Document 874 Filed 10/31/19 Page 1 of 1




      UNITED STATES DISTRICT {;[Jijj~RICTCOURT
                            EASTERN DISTRICT OF ARKANSAS                                  !STRICT OF ARKANSAS
                                                                                        FILED
                                  WAIVER OF INDICTMENT                                  OCT 3 1 2019
                                                                                      IN OPEN COURT
UNITED STATES OF AMERICA                       ~                             J;EYJ~~LERK
V.                                             )   No. 4:17CR00111-19 JM
                                               )
ANTONIO L. LEWIS                               )


       I, ANTONIO L. LEWIS, the above named defendant, who is accused of conspiracy to

distribute and possess with intent to distribute a controlled substance (heroin), a violation of Title

21, United States Code, Sections 846, being advised of the nature of the charges, the proposed

information, and of my rights, hereby waive in open court on this 31st day of October, 2019,

prosecution by indictment and consent that the proceeding may be by information rather than by

indictment.




                                                      ANTONIO L. LEWIS
                                                      Defendant




                                                       Counsel for Defendant
